USDC IN/ND case 1:20-cv-00037-HAB-SLC document 21 filed 02/12/20 page 1 of 2


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,                                   APPEARANCE
         v.                                            Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA, INC.,

                Defendants.



To the Clerk of Court and all parties of record:

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for Baicells Technologies Inc. and Baicells Technologies North America, Inc.


       February 12, 2020                               /s/ Eric McKeown
Date                                                   Attorney’s signature

                                                       Eric J. McKeown           27597-49
                                                       Printed Name and bar number

                                                       ICE MILLER LLP
                                                       One American Square, Suite 2900
                                                       Indianapolis, IN 46282-0200
                                                       Address

                                                       eric.mckeown@icemiller.com
                                                       E-mail address

                                                       (317) 236-2124
                                                       Telephone number

                                                       (317) 592-4228
                                                       FAX number
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 21 filed 02/12/20 page 2 of 2


                               CERTIFICATE OF SERVICE

               The undersigned counsel hereby certifies that the foregoing has been served on all
counsel of record this 12th day of February, 2020, by the Court’s electronic filing system.



                                            /s/ Eric McKeown
                                            Eric McKeown

ICE MILLER LLP
One American Square
Suite 2900
Indianapolis, IN 46282-0200
eric.mckeown@icemiller.com
